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                                            No. 19-696C

                                        (Filed: July 19, 2019)

                                     (NOT TO BE PUBLISHED)

                                               )
 ROGER ELLIOTT,                                )
                                               )
                        Plaintiff,             )
                                               )
        v.                                     )
                                               )
 UNITED STATES,                                )
                                               )
                        Defendant.             )
_____ _ _
        _______                                )

       Roger Elliott,pro se, Church Hill, Tennessee.

       Joshua A. Mandlebaum, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendant. With him on the briefs
were Joseph H. Hunt, Assistant Attorney General, Civil Division, and Robert E. Kirschman, Jr.,
Director, and Elizabeth M. Hosford, Assistant Director, Commercial Litigation Branch, Civil
Division, United States Department of Justice, Washington, D.C.

                                      OPINION AND ORDER
LETTOW, Senior Judge.

        Plaintiff Roger Elliott has brought suit seeking relief that would order the "end of due[]
process violations to protect high level bureaucrats," con-ect an employment form, and vacate a
Fourth Circuit decision entered in 2001. Comp!. at 2, ECF No. 1. 1 Mr. Elliott also seeks $1.6
million in compensation. Comp!. Ex. 2 at I (civil cover sheet). The United States ("the
government") has moved to dismiss the complaint pursuant to Rule 12(b)(I) of the Rules of the
Court of Federal Claims ("RCFC"). See Def.'s Mot. to Dismiss Pro Se Comp!. ("Def.'s Mot."),
ECF No. 5. Mr. Elliott filed a response on July 12, 2019. PL 's Resp. to Mot. to Dismiss ("PL 's
Resp."), ECF No. 6. The government replied on July 17, 2019. Def. 's Reply in Supp. of its Mot.
to Dismiss the Compl. (Def. 's Reply"), ECF No. 7.

       Because this court lacks subject-matter jurisdiction over the claims, the government's
motion to dismiss Mr. Elliott's complaint is GRANTED.

       1 Citations to
                    the complaint and its attachments con-espond to the page marking as
reproduced in the Electronic Case Filing system.




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